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                 AME Zion Church of Palo Alto, Inc.
            15
                                      UNITED STATES BANKRUPTCY COURT
            16
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
            17
                                              SACRAMENTO DIVISION
            18
                 In re
            19                                               CHAPTER 11 CASE
                 AME ZION WESTERN EPISCOPAL
            20   DISTRICT,
                                                             CASE NO. 20-23726 (FEC)
            21                            Debtor.

            22   AME ZION CHURCH OF PALO ALTO,
                 INC.,                                       ADVERSARY PROCEEDING NO.
            23                                               ________________ (FEC)
                                          Plaintiff,
            24
                             v.                              COMPLAINT FOR PRELIMINARY
            25                                               AND PERMANENT INJUNCTIVE
                 AME ZION WESTERN EPISCOPAL                  RELIEF, DECLARATORY JUDGMENT,
            26   DISTRICT, a California corporation,         QUIET TITLE, RESCISSION,
                 STACCATO POWELL, LEWIS CLINTON,             CONCEALMENT FRAUD AND UNJUST
            27   SHEILA QUINTANA, SANDRA K. DAVIS,           ENRICHMENT
                 JAWAAD LOVE, CHICAGO TITLE
            28   COMPANY, as Trustee, THE DELLHEIM


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             1   FAMILY TRUST, DANA DELLHEIM as
                 Trustee for the DELLHEIM FAMILY
             2   TRUST, LANCE EVIC, KEVIN & MARCI
                 GOODE, HLTN LOANS, an Arizona limited
             3   liability company, LISA MOTES, THE
                 BLEECKER FAMILY TRUST, JEFFREY
             4   SCOTT BLEECKER, as trustee for THE
                 BLEECKER FAMILY TRUST,
             5   CALIFORNIA TD SPECIALISTS, as
                 Trustee, BRAD EVANS, MATTHEW HILL,
             6   ROGER WENDELKEN REVOCABLE
                 LIVING TRUST, YOSEMITE CAPITAL
             7   LLC, a California limited liability company,
                 MARCUS & MILLICHAP REAL ESTATE
             8   INVESTMENT SERVICES, INC. and DOES
                 1 through 50, inclusive,
             9
                                               Defendants.
            10

            11
                        AME Zion Church of Palo Alto, Inc. (“University AME Zion”), by and through its
            12
                 attorneys, as Plaintiff in the above-captioned adversary proceeding, respectfully submits this
            13

            14   complaint (“Complaint”) against the Defendants, and, upon knowledge of its own acts and upon

            15   information and belief as to other matters, alleges as follows:

            16                                     NATURE OF THE ACTION
            17
                        1.      Palo Alto’s oldest Black church, University AME Zion, brings this adversary
            18
                 proceeding to prevent the unjust and unlawful sale of its sanctuary, which sits at 3549 Middlefield
            19
                 Road in Palo Alto, California (“3549 Middlefield Road”).
            20
                        2.      Under the cover of this bankruptcy proceeding, the Debtor now seeks to satisfy
            21

            22   millions of dollars in illegal loans secured with University AME Zion’s real property by the

            23   Debtor’s alter ego.
            24          3.      The Debtor’s alter ego is a now suspended bishop—Defendant Staccato Powell
            25
                 (“Powell”)—who abused his office within the national AME Zion Church’s regional governing
            26
                 hierarchy to fraudulently induce University AME Zion to transfer 3549 Middlefield Road to the
            27

            28


                                                                   2
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             1   Debtor to secure those millions in loans without the knowledge of either University AME Zion’s
             2   pastor-in-charge or its congregants.
             3
                        4.      Powell’s fraud against University AME Zion was part of his broader scheme to
             4
                 loot several local AME Zion churches under his pastoral care. Powell’s scheme is currently the
             5
                 subject of an ongoing FBI investigation. Meanwhile, Powell has been suspended from office by
             6

             7   the national church’s Board of Bishops pending trial at their upcoming General Conference.

             8          5.      To induce the transfer 3549 Middlefield Road, Powell preached that the Book of

             9   Discipline, the governing document for the national AME Zion Church, required each local
            10
                 church to sign over its property to the Debtor, Powell’s alter ego, which he misleadingly named
            11
                 “AME Zion Western Episcopal District.”
            12
                        6.      To further induce the transfer, Powell also falsely promised the congregants of
            13
                 University AME Zion that 3549 Middlefield Road would be held in trust by the Western
            14

            15   Episcopal District, and falsely claimed that the transfer of title to the Debtor would help other

            16   struggling churches.
            17          7.      When some of the Presiding Elders in his district either had the temerity to doubt
            18
                 Powell’s interpretation of the Book of Discipline or refused to approve the real property title
            19
                 transfers, Powell simply removed all of the Presiding Elders from their positions on a false
            20
                 pretext. With the Presiding Elders dismissed and out of the way, the Quarterly Conferences at
            21

            22   which a local church’s real property transfer would have been measuredly considered were not

            23   convened. Now unconstrained, Powell illegally made the title transfers by himself.

            24          8.      Despite his claims that 3549 Middlefield Road would be held in trust and used to
            25   help struggling churches, Powell used 3549 Middlefield Road and the real property of other local
            26
                 churches as security for a chain of 22 short-term, high-interest loans from the real estate
            27
                 equivalent of payday lenders.
            28


                                                                 3
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             1          9.      Indeed, Powell had the first loan to be secured by 3549 Middlefield Road lined up
             2   two days before his alter-ego Debtor had fraudulently obtained title to the church property.
             3
                        10.     After closing his first concealed loan transaction, and in ever-increasing amounts,
             4
                 Powell then fraudulently pledged and repledged 3549 Middlefield Road to secure two more of
             5
                 those 22 “hard money” loans. There is now approximately $3.9 million purportedly owed by the
             6

             7   Debtor that is “secured” by 3549 Middlefield Road.

             8          11.     University AME Zion never knew any of these loans existed until it received a

             9   default notice, and it certainly never saw a dime of the loan proceeds.
            10
                        12.     Upon the discovery of Powell’s fraudulent scheme, the national church’s Board of
            11
                 Bishops demanded that Powell unwind his numerous dealings and restore the local church
            12
                 properties to their rightful owners. However, while Powell and his alter ego Debtor closed
            13
                 additional loan transactions, Powell and his alter ego Debtor failed to unwind the prior
            14

            15   transactions and restore title to the harmed local churches.

            16          13.     Now, under the cover of this bankruptcy proceeding, Powell, through the Debtor,
            17   is attempting to illegally market and sell 3549 Middlefield Road to satisfy debts that are solely
            18
                 those of the Debtor.
            19
                        14.     If the Debtor’s unlawful attempts to sell 3549 Middlefield Road are not stopped by
            20
                 this Court, Palo Alto’s oldest Black church will lose its sanctuary.
            21

            22          15.     For this reason, the congregation and the pastor-in-charge of University AME Zion

            23   have commenced this action to respectfully request that this Court (i) immediately enjoin all of

            24   the Debtor’s attempts to market and/or sell 3549 Middlefield Road, (ii) quiet title to 3549
            25   Middlefield Road in favor of University AME Zion, (iii) rescind the 2018 Grant Deed (as defined
            26
                 below) and the Deeds of Trust (as defined below), (iv) declare that 3549 Middlefield Road is not
            27
                 the property of the Debtor’s estate, (v) declare that 3549 Middlefield Road does not secure any of
            28


                                                                   4
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             1   the Debtor’s Concealed Transactions (as defined below), and (vi) permanently enjoin the
             2   Defendants from taking any further actions or making any further representations with respect to
             3
                 3549 Middlefield Road.
             4
                                                              PARTIES
             5
                        16.     Plaintiff AME Zion Church of Palo Alto, Inc., which is known by its congregants
             6

             7   as University AME Zion Church, is, and at all relevant times was, a nonprofit religious

             8   corporation organized and existing under the laws of the State of California, with its principal

             9   place of business at 3549 Middlefield Road, Palo Alto, in the County of Santa Clara, State of
            10
                 California.
            11
                        17.     Defendant AME Zion Western Episcopal District (the “Debtor”) is, and at all
            12
                 relevant times was, a corporation organized and existing under the laws of the State of California,
            13
                 with, per its filings with this Court, its principal place of business at 980 9th Street, Suite 2120,
            14

            15   Sacramento, California, County of Sacramento. Per its statements made to this Court, the Debtor

            16   was “created in 2017 with a vision to expand the real estate holdings” and, as such, the Debtor is
            17   engaged in, inter alia, the real estate development business. See September 14, 2020, Hearing
            18
                 Transcript [Dkt. No. 44] (“9/14 Transcript”), pg. 11, ll. 20-25.
            19
                        18.     Powell (i) was and is the Chief Executive Officer of the Debtor and (ii) is an
            20
                 individual residing in the State of California.
            21

            22          19.     The Debtor—which has a name intentionally similar to that of the episcopal area

            23   known as the Western Episcopal District of The African Methodist Episcopal Zion Church (as

            24   defined below)—is, and at all times was, a mere shell, instrumentality and conduit that Powell
            25   completely controlled and used to carry out his activities. There exists, and at all times since the
            26
                 Debtor was incorporated there existed, a unity of interest between the Debtor and Powell such
            27
                 that any individuality or separateness between these two Defendants does not, and at all relevant
            28


                                                                   5
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             1   times did not, exist. The Debtor, therefore is, and at all times since its incorporation has been, the
             2   alter ego of Powell.
             3
                        20.     Defendant Lewis Clinton is the recently appointed Chief Operating Officer of the
             4
                 Debtor and is an individual residing in the State of California.
             5
                        21.     Defendant Sheila Quintana was and is the Chief Financial Officer of the Debtor
             6

             7   and is an individual residing in the State of California.

             8          22.     Defendant Sandra K. Davis was and is an Officer and member of the Board of

             9   Directors of the Debtor and is an individual residing in the State of California.
            10
                        23.     Defendant Jawaad Love is the Secretary of the Debtor and is an individual residing
            11
                 in the State of California.
            12
                        24.     At all relevant times herein mentioned, each of Lewis Clinton, Sheila Quintana,
            13
                 Sandra K. Davis, and Jawaad Love (collectively, with the Debtor and Powell, the “Debtor-
            14

            15   Defendants” and singularly, each a “Debtor-Defendant”) was and is an agent, servant,

            16   employee, alter ego, and/or other representative of the Debtor, and all of the acts and omissions of
            17   said Debtor-Defendants were done in such capacity for the Debtor and under the direction of
            18
                 Powell.
            19
                        25.     Defendant Chicago Title Company is, and at all relevant times was, a California
            20
                 Trustee with its last known principal place of business at 2010 Crow Canyon Place, Suite 212,
            21

            22   San Ramon, CA 94583. Chicago Title Company served as Trustee for The Dellheim Family

            23   Trust, Dana Dellheim as Trustee for the Dellheim Family Trust, Lance Evic, Kevin & Marci

            24   Goode, HLTN Loans, an Arizona limited liability company, Lisa Motes, The Bleecker Family
            25   Trust, and Jeffrey Scott Bleecker, as trustee for The Bleecker Family Trust, who are the
            26
                 participant lenders under that certain September 11th Deed of Trust (as more particularly
            27
                 described below).
            28


                                                                   6
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             1          26.       Defendants Dellheim Family Trust and Dana Dellheim, as trustee for The
             2   Dellheim Family Trust, are 6.34921% participant lenders under that certain September 11th Deed
             3
                 of Trust.
             4
                        27.       Defendant Lance Evic is a 15.87302% participant lender under that certain
             5
                 September 11th Deed of Trust.
             6

             7          28.       Defendants Kevin and Marci Goode are 7.93651% participant lenders under that

             8   certain September 11th Deed of Trust.

             9          29.       Defendant HLTN Loans, as an Arizona limited liability company, is a private
            10
                 alternative lender for real estate and a 15.87302% participant lender under that certain September
            11
                 11th Deed of Trust.
            12
                        30.       Defendant Lisa Motes is a 31.74603% participant lender under that certain
            13
                 September 11th Deed of Trust.
            14

            15          31.       Defendants The Bleecker Family Trust and Jeffrey Scott Bleecker, as trustee for

            16   The Bleecker Family Trust, are 22.2222% participant lenders under that certain September 11th
            17   Deed of Trust.
            18
                        32.       Defendant California TD Specialists is, and at all relevant times was, a California
            19
                 Trustee with its last known principal place of business at 8190 E. Kaiser Boulevard, Anaheim,
            20
                 California 92808, Orange County in the State of California. California TD Specialists acts as a
            21

            22   California trustee and provides non-judicial foreclosure services.       California TD Specialists

            23   served as Trustee for Brad Evans, Matthew Hill, Roger Wendelken Revocable Living Trust and

            24   Yosemite Capital LLC, who are the participant lenders under that certain October 27th Deed of
            25   Trust (as more particularly described below).
            26
                        33.       Defendant Brad Evans is a 8.24176% participant lender under that certain October
            27
                 27th Deed of Trust.
            28


                                                                   7
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             1          34.     Defendant Matthew Hill is the legal owner via non-trust custodial IRA with AET
             2   and a 8.24176% participant lender under that certain October 27th Deed of Trust.
             3
                        35.     Defendant Roger Wendelken Revocable Living Trust is a 13.73626% participant
             4
                 lender under that certain October 27th Deed of Trust.
             5
                        36.     Defendant Yosemite Capital LLC is, and at all relevant times was, a limited
             6

             7   liability company organized and existing under the laws of the State of California, with its last

             8   known principal place of business c/o Tom Malgesini, 225 Marvin Avenue, Los Altos, California

             9   94022, County of Santa Clara in the State of California. Yosemite Capital LLC is a bank-
            10
                 alternative real estate lender that is (i) the sole lender under the March 26th Deed of Trust (as
            11
                 more particularly described below) and (ii) a 69.78022% participant lender under that certain
            12
                 October 27th Deed of Trust.
            13
                        37.     Dellheim Family Trust, Dana Dellheim as Trustee for The Dellheim Family Trust,
            14

            15   Lance Evic, Kevin & Marci Goode, HLTN Loans, Lisa Motes, The Bleecker Family Trust,

            16   Jeffrey Scott Bleecker, as Trustee for The Bleecker Family Trust, Brad Evans, Matthew Hill,
            17   Roger Wendelken Revocable Living Trust, and Yosemite Capital LLC are collectively referred to
            18
                 herein as the “Debtor’s Lenders” with each a “Lender.”
            19
                        38.     Defendant Marcus & Millichap Real Estate Investment Services, Inc. (“Marcus &
            20
                 Millichap”) is, and at all relevant times was, a corporation organized and existing under the laws
            21

            22   of the State of California, with its last known principal place of business at 2626 Hanover Street,

            23   Palo Alto, California 94304. Marcus & Millichap specializes in commercial real estate sales,

            24   financing, research, and advisory services.
            25          39.     The true names and capacities of Defendants sued herein as DOES 1 through 50,
            26
                 inclusive, are unknown to University AME Zion but may be claiming some right, title, estate,
            27
                 lien, or interest in the real property described in this Complaint, adverse to University AME
            28


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             1   Zion’s ownership of 3549 Middlefield Road or would place a cloud on University AME Zion’s
             2   title thereto, and are, therefore, sued under such fictitious names (the “Unknown Defendants”).
             3
                 University AME Zion will amend this Complaint to allege the true names and capacities of the
             4
                 Unknown Defendants 1 through 50 when ascertained. University AME Zion is informed and
             5
                 believes, and thereon alleges, that said fictitiously named Defendants may in some manner be
             6

             7   responsible, in whole or in part, for the matters alleged herein and each of them may claim some

             8   right, title, estate, lien, or interest in 3549 Middlefield Road adverse to University AME Zion’s

             9   title, and their claims constitute a cloud on University AME Zion’s title to 3549 Middlefield
            10
                 Road.
            11
                         40.    At all relevant times to this action, each Defendant, including those fictitiously
            12
                 named, (i)(a) was an agent, employee, lender, joint venture, partner, servant, surety of or (b) has
            13
                 aided or assisted one of the Defendants in connection with the Debtor’s Concealed Transactions
            14

            15   (as defined herein) and (ii) was acting within the scope of said agency, employment, lending

            16   relationship, partnership, service, venture, or suretyship, with the knowledge, consent or
            17   ratification of at least one of the Defendants in doing the things alleged in this Complaint.
            18
                                                  JURISDICTION AND VENUE
            19
                         41.    The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.
            20
                 §§ 1334 and 157(b) and the General Order of Reference 153 from the United States District Court
            21

            22   for the Eastern District of California, dated April 2, 1984. Jurisdiction to grant declaratory relief

            23   exists pursuant to 11 U.S.C. § 105.

            24           42.    The Debtor in the above-captioned proceeding under Chapter 11 of the Bankruptcy
            25   Code (the “Case”) is a defendant in this matter.
            26
                         43.    This is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A) and (K).
            27

            28


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             1          44.     Venue for this Case and this adversary proceeding in this district is proper
             2   pursuant to 28 U.S.C. §§ 1408 and 1409.
             3
                        45.     The statutory predicates for the relief requested herein are contained in Sections
             4
                 105(a), 362(f), 506, and 541 of the Bankruptcy Code; Bankruptcy Rules 7001(2), 7001(7),
             5
                 7001(9), and 7065; 28 U.S.C. §§ 2201 and 2202 (the “Declaratory Judgment Act”), California
             6

             7   Civil Code Sections 1572, 1689, 1709, 1710, and 3412; and California Code of Civil Procedures

             8   Sections 760.010 through 761.050, 761.010, 762.010, 762.020, and 764.010 through 764.080.

             9                       UNIVERSITY AME ZION’S CHURCH PROPERTY
            10
                        46.     University AME Zion’s sanctuary is located at 3549 Middlefield Road, Palo Alto,
            11
                 California 95209 and the legal description for the property is as follows:
            12
                        THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF PALO ALTO,
            13          COUNTY OF SANTA CLARA, STATE OF CALIFORNIA AND IS DESCRIBED AS
                        FOLLOWS:
            14          APN#: 127-29-250

            15          PARCEL ONE:

            16          PORTION OF LOT 91, AS SHOWN UPON THAT CERTAIN MAP ENTITLED, “MAP OF C.
                        M. WOOSTER COMPANY’S SUBDIVISION OF THE CLARKE RANCH”, WHICH MAP
                        WAS FILED FOR RECORD IN THE OFFICE OF THE RECORDER OF THE COUNTY OF
            17
                        SANTA CLARA, STATE OF CALIFORNIA, ON NOVEMBER 11, 1912 IN BOOK O OF
                        MAPS, AT PAGE 16, AND MORE PARTICULARLY DESCRIBED AS FOLLOWS:
            18
                        BEGINNING AT A POINT ON THE CENTER LINE OF MIDDLEFIELD ROAD, AT THE
            19          COMMON CORNER FOR LOTS 37, 38, 91 AND 92, AS SAID ROAD AND LOTS ARE
                        SHOWN UPON THE MAP ABOVE REFERRED TO; THENCE FROM SAID POINT OF
            20          BEGINNING NORTH 52° 00’ WEST ALONG SAID CENTER LINE OF MIDDLEFIELD
                        ROAD FOR A DISTANCE OF 116.72 FEET TO THE WESTERNMOST CORNER OF THAT
            21          CERTAIN TRACT OF LAND DESCRIBED IN THE DEED FROM JOSEPH A. HERNANDEZ,
                        ET UX, TO THE AFRICAN METHODIST EPISCOPAL ZION CHURCH OF AMERICA, A
            22          CORPORATION DATED JULY 20, 1962, RECORDED SEPTEMBER 7, 1962 IN BOOK 5712
                        OFFICIAL RECORDS, PAGE 211, SANTA CLARA COUNTY RECORDS; THENCE NORTH
            23          38° 00’ EAST AND PARALLEL WITH THE DIVIDING LINE BETWEEN SAID LOTS 91
                        AND 92 FOR A DISTANCE OF 324.82 FEET TO THE WESTERNMOST CORNER OF THAT
            24          CERTAIN TRACT OF LAND DESCRIBED IN THE DEED FROM AME ZION CHURCH OF
                        PALO ALTO, INC., A CORPORATION, TO WILLIAMS CONSTRUCTION COMPANY, A
            25          CO-PARTNERSHIP, DATED NOVEMBER 17, 1964, RECORDED DECEMBER 11, 1964
                        AND BOOK 6777 OFFICIAL RECORDS, PAGE 85, SANTA CLARA COUNTY RECORDS;
            26          THENCE SOUTH 52° 00’ EAST ALONG SOUTHWESTERLY LINE OF LAND SO
                        DESCRIBED IN THE DEED TO SAID WILLIAMS CONSTRUCTION COMPANY FOR A
            27          DISTANCE OF 116.72 FEET TO THE SOUTHERNMOST CORNER THEREOF IN THE SAID
                        DIVIDING LINE BETWEEN LOTS 91 AND 92; THENCE SOUTH 38° 00’ WEST ALONG
            28          SAID DIVIDING LINE BETWEEN LOTS 91 AND 92 FOR A DISTANCE OF 324.82 FEET TO
                        THE POINT OF BEGINNING.

                                                                 10
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             1
                         PARCEL TWO:
             2
                         ALL OF LOT 13, AS SHOWN UPON THAT CERTAIN MAP ENTITLED, “RECORD OF
             3           SURVEY PORTION OF LOT 91 OF THE C. M. WOOSTER COMPANY’S SUBDIVISION OF
                         THE CLARKE RANCH”, WHICH MAP WAS FILED FOR RECORD IN THE OFFICE OF
             4           THE RECORDER OF THE COUNTY OF SANTA CLARA, STATE OF CALIFORNIA, ON
                         APRIL 9, 1963 IN BOOK 159 OF MAPS, AT PAGE 30.
             5
                                                   STATEMENT OF FACTS
             6

             7   I.      The African Methodist Episcopal Zion Church

             8           47.    The African Methodist Episcopal Zion Church (the “AME Zion Church” or the

             9   “Denomination”) is a historically Black denomination that was founded in 1796.
            10           48.    The General Conference of the AME Zion Church (the “General Conference ”) is
            11
                 the supreme legislative body of the Denomination. Between the quadrennial meetings of the
            12
                 General Conference, the denomination ministry is overseen by the Board of Bishops of the AME
            13
                 Zion Church (the “Board of Bishops”). The Book of Discipline of the AME Zion Church (the
            14

            15   “Book of Discipline”) is the instrument for setting forth the laws, plan, polity, and process by

            16   which the Denomination governs itself.

            17           49.    The Denomination is organized into regionally based “Annual Conferences,” so
            18
                 named because its members meet annually to address matters of common ministry for all local
            19
                 AME Zion churches located within the Annual Conference’s territorial jurisdiction, as well as
            20
                 matters of concern for all AME Zion clergy that are appointed to serve those local churches.
            21
                 Each Annual Conference is presided over by one of the denomination’s bishops. Many bishops
            22

            23   preside over more than one annual conference.

            24          50.     The various Annual Conferences, in turn, are grouped into twelve geographic areas
            25   known as Episcopal Districts. The term “Episcopal” reflects that AME Zion ministries at the
            26
                 Annual Conference level are overseen by bishops. In essence, an “Episcopal District” is the name
            27
                 used to identify the geographic area that encompasses all of the Annual Conferences over which a
            28


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             1   single bishop has been assigned to preside.
             2          51.      The General Conference elected Staccato Powell to become a Bishop of the AME
             3
                 Zion Church on July 23, 2016, and he was formally consecrated as such on July 26, 2016.
             4
                         52.     Powell was assigned to oversee and preside over all Annual Conferences located
             5
                 within the geographic region known as the Western Episcopal District of The African Methodist
             6

             7   Episcopal Zion Church, an area that stretches from San Diego in southern California to Fairbanks,

             8   Alaska in the north, and also encompasses the states of Arizona, Colorado, Oregon, and

             9   Washington (this geographical area, the “Western Episcopal District”). Five multicultural and
            10
                 racially diverse Annual Conferences are located within those states, encompassing fifty-two local
            11
                 churches, which in turn are grouped into eight Presiding Elder Districts (defined below).
            12
                        53.      Within each Episcopal District, the Presiding Elders serve the critical function of
            13
                 being the supervising intermediary between the local church pastors-in-charge and the bishop, and
            14

            15   between the local church itself and the Annual Conference in which it is located. Each Presiding

            16   Elder meets regularly with the pastor-in-charge. In addition, as required by the Discipline, the
            17   Presiding Elder formally presides over a quarterly meeting of the congregation’s key lay leaders
            18
                 and all of its clergy. Known as the Quarterly Conference (so named because of the frequency with
            19
                 which it must meet), this local church body is the chief governing authority in any AME Zion local
            20
                 church. All other local church committees and boards – including the Board of Trustees (which
            21

            22   has general responsibility for the church’s real property) and the Board of Stewards (which

            23   oversees financial matters) – are amenable to and subject to the direction of the Quarterly

            24   Conference. In the AME Zion denomination, a local church cannot undertake its most significant
            25   actions – including any transfer or encumbering of the church’s real property – without first
            26
                 obtaining the approval of the Quarterly Conference. Indeed, as outlined below, any disposition of
            27
                 a local AME Zion’s church property is deemed so significant that it must also be approved by a
            28


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             1   majority vote of the congregation’s entire membership and, even then, only with the written
             2   consent of the Bishop.
             3
                 II.     The Governing Law of the AME Zion Church: The Book of Discipline
             4
                         54.     It is a well-settled law of the AME Zion Church that the property of a local church
             5
                 cannot be disposed of or mortgaged outside of the safeguards established by the General
             6

             7   Conference and set forth in the Book of Discipline. Paragraph 398 of The Book of Discipline

             8   (the “Transfer Provision”) provides:

             9           The Trustees shall not in any case whatsoever dispose of church property by sale or otherwise
                         without the consent of the majority of the members in full connection, expressed by vote in a
            10           meeting called for that purpose, of which due notice has been given. Provided, however, that no
                         congregation, Pastor, nor trustee board or agent of the congregation shall mortgage or sell any
            11           property of The A. M. E. Zion Church without confirmation of the Quarterly Conference and
                         written consent of the Bishop of the district or the Annual Conference.
            12
                         The Book of Discipline, Para. 398 (2016) (emphasis added).
            13

            14           55.     Accordingly, the Book of Discipline requires that a four-prong test must be

            15   completely satisfied before the property of a local church can be disposed of by sale or otherwise

            16   encumbered. The four prongs are as follows:
            17
                         (i)     A meeting must be held by the Board of Trustees of the local church to
            18
                                 consider either a transfer or obtaining a mortgage on the respective
            19
                                 church’s property.
            20
                         (ii)    The consent of the majority of the members of the local church “in full
            21

            22                   connection” must be obtained and such consent must be expressed in a

            23                   vote at a meeting called for that purpose, of which due notice is given.
            24           (iii)   The consent, once obtained, must be confirmed at the Quarterly
            25
                                 Conference before any property may be transferred or mortgaged.
            26
                         (iv)    Prior to any transfer or mortgage of the church’s property, the written
            27
                                 consent of the Bishop of the Episcopal District must be obtained.
            28


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             1           56.     Satisfaction of each of these prongs must be documented and reflected in the
             2   minutes and records of the local church, including (without limitation) the minutes approved and
             3
                 resolutions adopted by the Quarterly Conference and the related meeting minutes and resolutions
             4
                 of the local church’s Board of Trustees, which is the body authorized to execute real estate
             5
                 transactions on the local church’s behalf, subject to the approval and direction of the Quarterly
             6

             7   Conference. Failure to adhere to these requirements of the Transfer Provision nullifies the

             8   transfer.

             9           57.     Within the Book of Discipline, the following provisions are also relevant to church
            10
                 properties:
            11
                         All assets owned by an African Methodist Episcopal Zion Church, whether incorporated,
            12           unincorporated, or abandoned:

                         a.      Shall be held by the trustees of the church in trust for the African Methodist Episcopal
            13
                                 Zion Church; and
            14           b.      Are subject to The Discipline, usage, and ministerial appointments of The African
                                 Methodist Episcopal Zion Church, as from time to time authorized and declared by the
            15                   General Conference of said church.
            16
                         The Book of Discipline, Para. 391.4. (2016) (emphasis added).
            17
                         58.     Finally, all written instruments of conveyance by which the properties are held or
            18
                 thereafter acquired, for use as a place of divine worship for members of the AME Zion Church or
            19
                 for other church activities, must contain the following trust clause (the “Trust Clause”):
            20
                         In trust that said premises shall be used, kept maintained, and disposed of as a place of divine
            21           worship for the use of the ministry, and membership of The African Methodist Episcopal Zion
                         Church in America, subject to the provisions of the Discipline, usage, and ministerial
            22           appointments of said church, as from time to time authorized and declared by the General
                         Conference of said church, and by the Annual Conference within whose bounds the said premises
            23           are situated. This provision is solely for the benefit of the grantee, and the grantor reserved no
                         right or interest in said premises.
            24
                         The Book of Discipline, Para. 394 (2016) (emphasis added).
            25

            26   III.    University AME Zion Church

            27           59.     In 1918, a small gathering met at the home of Mrs. Melvina McCaw at 330
            28   Cowper St., Palo Alto, with one purpose in mind. This hopeful group wanted to establish an

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             1   AME Zion Church in Palo Alto. Ultimately, these founders formed what is Palo Alto’s oldest
             2   Black church.
             3
                        60.      At first, the founders formed a “mission” church and worshipped downtown at the
             4
                 Fraternal Hall on High Street. They later worshipped in Ostrander Hall, upstairs in a Bank of
             5
                 America building.
             6

             7          61.      In 1922, the congregation, wishing to have their own church building but unable to

             8   secure a loan on their own, received an outpouring of financial and moral support from generous

             9   Palo Altans.
            10
                        62.      By the next year, the congregation had raised enough money to purchase the
            11
                 property at 819 Ramona Street, Palo Alto, California 94301. A successful fund drive produced
            12
                 $1,264.00, and the cornerstone for a brand new University AME Zion Church was laid on April
            13
                 25, 1925. The building cost $6,000.00—half of those funds were acquired by fund-raising and
            14

            15   the remainder was covered by a mortgage. With the help of many groups, such as the Shriners,

            16   Kiwanis and Rotary, as well as voluntary citizen donations and favorable editorials in the local
            17   Palo Alto Times, enough money was raised to burn the mortgage on July 8, 1939.
            18
                        63.      From 1925 to 1965, the congregation thrived within its home until it decided that it
            19
                 was time for a new home.
            20
                        64.      On April 5, 1963, University AME Zion by Quit Claim Deed acquired 3549
            21

            22   Middlefield Road for its new home (the “1963 Deed”). On April 8, 1963, the 1963 Deed was

            23   recorded in the Office of the County Clerk-Recorder for Santa Clara County (the “Santa Clara

            24   County Clerk’s Office”) as Quit Claim Deed No. 2379889. A true and correct copy of the 1963
            25   Deed is attached hereto as Exhibit A.
            26
                        65.      Two years later, on July 4, 1965, groundbreaking ceremonies were held at the
            27
                 present Middlefield Road site, and the $65,000 sanctuary became a reality in January 1966.
            28


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             1          66.     When the mortgage to build the sanctuary was repaid, there was a mortgage-
             2   burning celebration, and 3549 Middlefield Road remained free of encumbrances until the
             3
                 occurrence of the events that underpin this action.
             4
                        67.     Since the acquisition of 3549 Middlefield Road by University AME Zion in 1963,
             5
                 it has at all times not only continued in possession of 3549 Middlefield Road, but paid all utility
             6

             7   bills, insurance premiums, and in every other way has acted (and continues to act) as owner of

             8   3549 Middlefield Road. Reflecting the reality at hand, the Debtor has never (i) assumed or paid

             9   any of these amounts required to maintain 3549 Middlefield Road or (ii) otherwise offered any
            10
                 financial support to University AME Zion in connection with the restoration and upkeep of 3549
            11
                 Middlefield Road.
            12
                        68.     Today, University AME Zion is an active parish with a growing membership that
            13
                 warmly welcomes with open arms a diverse mix of cultures from varying socioeconomic and
            14

            15   generational backgrounds. Families, singles, seniors, students, and more are finding their place at

            16   University AME Zion. Services are 9:30 a.m. on Sundays. University AME Zion has 115 active
            17   members, 220 regular in-person congregants, and an average Sunday viewership on Facebook of
            18
                 800 to 1,000 viewers. Pre-COVID-19, in addition to University AME Zion’s Sunday services, it
            19
                 opened its doors on Tuesdays, Wednesdays, Fridays, and Saturdays with programs. Even now,
            20
                 University AME Zion continues on with programs such as “Operation Contagious Generosity,”
            21

            22   through which University AME Zion helps feed its neighbors who have become economically

            23   insecure during COVID-19, and “Help One Child,” through which University AME Zion collects

            24   and then distributes Christmas presents to foster children.
            25   IV.    Unchecked: Staccato Powell’s Self-Contrived Ascension to Absolute Authority
            26
                        69.     On or about July 23, 2016, Bishop Staccato Powell was elected as the Presiding
            27
                 Prelate of the Western Episcopal District.
            28


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             1          70.     On or about October 28, 2016, Articles of Incorporation were filed with the
             2   California Secretary of State establishing the Debtor as a nonprofit religious corporation. The
             3
                 corporation’s initial officers were identified as Staccato Powell, as Chief Executive Officer;
             4
                 Sheila Quintana, as Chief Financial Officer; Jawaad Love, as Secretary; and Marcia Meredith, as
             5
                 Agent for Service of Process. Sandra Davis replaced Marcia Meredith, as Agent for Service of
             6

             7   Process, on or about October 24, 2018.

             8          71.     Just shy of a year after Powell’s election, on or about April 21-22, 2017, a clergy

             9   retreat took place in Fontana, California. Unless there was an “extreme emergency,” all clergy
            10
                 were expected to attend.
            11
                        72.     At this retreat, Powell stressed that in order to execute his “vision,” there needed to
            12
                 be more tithing, which he asserted now required that the pastors pool all of their respective church
            13
                 resources together to grow the Denomination’s ministry within the Western Episcopal District.
            14

            15          73.     Thereafter, Powell systematically used a variety of tactics to force transfers of

            16   local church property to his newly established corporation, the Debtor. For starters, Powell, who
            17   lead the codification committee that reviews, edits, and updates the Book of Discipline, preached
            18
                 that the Book of Discipline required each local church to sign over its property to the Debtor.
            19
                 With this textual contrivance, Powell advocated that pooling their combined resources was
            20
                 consistent with the Book of Discipline and that in doing so the “pooled resources” would be used
            21

            22   to help other struggling churches.

            23          74.     Whether believing his charismatic representations that the church titles would be

            24   leveraged to help other struggling churches in the District or fearing Powell’s reprisals, some
            25   churches transferred the title to their sanctuaries to the Debtor.
            26
                        75.     Some churches, in contrast, did not heed Powell’s demands, which led to him find
            27
                 fault with the Presiding Elders.
            28


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             1          76.       As a result, between August 2016 and July 2017, on the pretext that the Presiding
             2   Elders were impeding growth and were stuck in an old mindset, Powell removed all of the
             3
                 Presiding Elders from their positions, including those who disagreed with his characterization of
             4
                 the Book of Discipline and those who refused to approve or be party to the property transfers.
             5
                 With the removal of the Presiding Elders, no Quarterly Conferences would be convened and
             6

             7   Powell’s power was absolute.

             8   V.     Coercion: Mapping the Architecture of the Lies and Pressure that Forced the
                        Transfer of 3549 Middlefield Road
             9
                        77.       Powell and the Debtor-Defendants moved quickly to force University AME Zion
            10

            11   to deed over the title to 3549 Middlefield Road to the Debtor.

            12          78.       At the behest of Powell, a meeting of University AME Zion’s Board of Trustees

            13   was convened. At Powell’s direction, the Board of Trustees voted to approve the transfer to the
            14   Western Episcopal District based upon Powell’s representations that (i) they would be
            15
                 aiding/helping their fellow struggling churches within the Western Episcopal District, such as
            16
                 St. Stephen AME Zion Church in Sacramento, California and (ii) the transfer would be for the
            17
                 “good of the entire Western Episcopal District.”
            18

            19          79.       Critical to both University AME Zion’s congregation and the Pastor–in-Charge,

            20   The Reverend Kaloma A. Smith (“Pastor Smith”), were the assurances of the Debtor-Defendants

            21   that 3549 Middlefield Road would be transferred to, and held in trust by, the Western Episcopal
            22
                 District (these representations and assurances, collectively, the “Misrepresentations”).
            23
                        80.       Powell and his surrogate officers at the Debtor drove the entire transfer process
            24
                 and drafted all the documentation. The course of events proceeded as follows:
            25
                                 On or about September 9, 2017, Sheila Quintana requested that University
            26

            27                    AME Zion confirm its status as an exempted 501(c)(3), which University

            28                    AME Zion confirmed.

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             1      Four days later, on or about September 13, 2017, Sheila Quintana
             2       requested that University AME Zion’s Board of Trustees execute a
             3
                     resolution confirming the Trust in Conveyance clause (the “2017
             4
                     Resolution”). In her email, she emphasized that the 2017 Resolution
             5
                     needed to be signed and returned “as soon as possible (very tight
             6

             7       deadlines for Bishop).”

             8      Two days later, on or about September 15, 2017, the requested 2017
             9       Resolution was signed and returned by email to Sheila Quintana.
            10
                    That same day, the Debtor’s agent, Kevin Heslin, inspected the Sanctuary
            11
                     and the Church Property and provided Pastor Smith with a draft of the
            12
                     grant deed for execution that listed “University AME Zion” as fee title
            13

            14       owner. However, title to property as set forth in the 1963 Deed was held

            15       in the name of AME Zion Church of Palo Alto, Inc.

            16      Two days later, on or about September 17, 2017, at the behest of Powell’s
            17
                     surrogates, University AME Zion, at members’ meeting, voted to approve
            18
                     a second supplemental resolution to transfer 3549 Middlefield Road from
            19
                     AME Zion Church of Palo Alto, Inc. to University AME Zion.
            20
                     Ultimately, this resolution was not used.
            21

            22      Three days later, on or about September 20, 2017, Sandra Davis went to

            23       the Secretary of State to have both corporate entities—University AME
            24       Zion Church and AME Zion Church of Palo Alto—reinstated.
            25
                    On or about October 4, 2017, Sandra Davis again went to the Secretary of
            26
                     State and confirmed that both entities had been reactivated. Sandra Davis
            27
                     also went to the Franchise Tax Board to expedite approval of Form 3500
            28


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             1                    to exempt University AME Zion from California franchise taxes. At that
             2                    time, there was a minimum 90-day backlog in approval of such
             3
                                  applications.
             4
                                 On or about October 12, 2017, the Franchise Tax Board requested that
             5
                                  University AME Zion also complete a Form 3500 for AME Zion Church
             6

             7                    of Palo Alto. Again, adhering to Powell’s timing demands, this request

             8                    was promptly completed by University AME Zion, with the approval of

             9                    the Board of Stewards, on the same day.
            10
                                 As soon as the Franchise Tax Board granted the exemption for AME Zion
            11
                                  Church of Palo Alto, Inc., the “revised” grant deed using the legal name in
            12
                                  which 3549 Middlefield Road had originally been deeded to University
            13

            14                    AME Zion—AME Zion Church of Palo Alto, Inc.—was proffered to

            15                    Pastor Smith for execution.

            16          81.       The 2017 Resolution approved by Board of Trustees of University AME Zion
            17   required that (i) 3549 Middlefield Road be held “in trust” and (ii) “all written instruments of
            18
                 conveyance” contain the Trust Clause.
            19
                        82.       Yet, the “revised” grant deed, which (i) now had AME Zion Church of Palo Alto,
            20
                 Inc. deeding 3549 Middlefield Road to the Debtor (which was believed by University AME Zion
            21

            22   at that time to be the corporate embodiment of the Western Episcopal District), (ii) was executed

            23   on or about March 28, 2018, by Pastor Smith, and (iii) was recorded in the Santa Clara County

            24   Clerk’s Office on April 2, 2018 as Grant Deed No. 23899797 (the “2018 Grant Deed”), was
            25
                 missing the required Trust Clause. A true and correct copy of 2018 Grant Deed is attached hereto
            26
                 as Exhibit B. Pastor Smith did not receive a filed copy of the 2018 Grant Deed.
            27
                        83.       The entire process of transferring 3549 Middlefield Road was so pressurized that
            28


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             1   University AME Zion’s congregation, its Board of Trustees, its Board of Stewards, and Pastor
             2   Smith were never allowed to review the “revised” grant deed, ask questions, or obtain either
             3
                 ecclesiastical or legal advice on the proffered grant deed. Instead, under his pressing mandate,
             4
                 Pastor Smith was forced to rely on Powell’s interpretation of what was required by the Book of
             5
                 Discipline and signed next to the little checkmark on the signature line on the 2018 Grant Deed.
             6

             7          84.     Critically, there was no Quarterly Conference approving any transfer of University

             8   AME Zion’s 3549 Middlefield Road. Nor, in fact, is there any record that anyone ever sought or

             9   obtained the written consent of Powell prior to the transfer of 3549 Middlefield Road.
            10
                        85.     Finally, University AME Zion received no compensation or consideration in
            11
                 connection with the 2018 Grant Deed.
            12
                 VI.    Using Its Fraudulently Obtained Title to 3549 Middlefield Road, the Debtor Secures
            13          Undisclosed and Unlawful Loans
            14          86.     Unbeknownst to University AME Zion, two days earlier, on March 26, 2018, a
            15
                 Deed of Trust, Security Agreement, Assignment of Leases and Rents and Fixture Filing (the
            16
                 “March 26th Deed of Trust”) had been executed by Sheila Quintana on behalf of the Debtor.
            17
                 The March 26th Deed of Trust was recorded in favor of Yosemite Capital LLC in the Santa Clara
            18

            19   County Clerk’s Office on April 2, 2018 as Deed of Trust No. 23899798. The March 26th Deed

            20   of Trust, which purportedly secured a loan to the Debtor in the principal amount of

            21   $2,000,000.00, was recorded on the same day immediately after the 2018 Grant Deed was
            22
                 recorded.
            23
                        87.     This loan was taken out on 3549 Middlefield Road without the knowledge, let
            24
                 alone the approval, of anyone at University AME Zion. None of the requirements of the
            25
                 Transfer Provision were complied with.        Neither Sheila Quintana nor any other Debtor-
            26

            27   Defendant was authorized by University AME Zion to execute the March 26th Deed of Trust.

            28   University AME Zion did not receive any proceeds from this loan.


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             1          88.    On September 10, 2018, Sheila Quintana, on behalf of the Debtor, executed that
             2   certain Deed of Trust, Security Agreement, Assignment of Leases and Rents and Fixture Filing,
             3
                 dated as of September 11, 2018 (the “September 11th Deed of Trust”), in favor of the Dellheim
             4
                 Family Trust, Lance Evic, Kevin and Marci Goode, HLTN Loans, Lisa Motes, and the Bleecker
             5
                 Family Trust. The September 11th Deed of Trust was recorded in the Santa Clara County Clerk’s
             6

             7   Office on September 17, 2018 as Deed of Trust No. 24024565. This September 11th Deed of

             8   Trust allegedly secured a loan to the Debtor in the principal amount of $3,150,000.00.

             9          89.    This Deed of Trust was taken out on 3549 Middlefield Road without the
            10
                 knowledge of anyone at University AME Zion.          None of the requirements of the Transfer
            11
                 Provision were complied with. Neither Sheila Quintana nor any other Debtor-Defendant were
            12
                 authorized by University AME Zion to execute the September 11th Deed of Trust. University
            13
                 AME Zion did not receive any proceeds from this loan.
            14

            15          90.    Executed on October 1, 2018, a Deed of Reconveyance was recorded in the Santa

            16   Clara County Clerk’s Office on October 4, 2018 as Deed of Reconveyance No. 24036620 by
            17   California TD Specialists, on behalf of Yosemite Capital LLC, thus transferring the property back
            18
                 to the Debtor (the “October 1st Reconveyance”).
            19
                        91.    No one at University AME Zion was aware of this transfer. In fact, the deed was
            20
                 recorded and returned to the Debtor at a strip mall in San Joaquin County with an address of 2339
            21

            22   West Hammer Lane, Suite C153, Stockton, California 95209.

            23          92.    Almost one year later, on August 14, 2019, the Dellheim Family Trust executed an

            24   Assignment of Deed of Trust in favor of the Bleecker Family Trust transferring all of its interest
            25   under the September 11th Deed of Trust. The Assignment of Deed of Trust was recorded in the
            26
                 Santa Clara County Clerk’s Office on September 10, 2019 as Deed of Trust No. 24276634 (the
            27
                 “August 14th Assignment”).
            28


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             1          93.    No one at University AME Zion was aware of this transfer.
             2          94.    On October 28, 2019, the Debtor, via Sandra Davis, executed that certain Deed of
             3
                 Trust, Security Agreement, Assignment of Leases and Rents and Fixture Filing, dated as of
             4
                 October 27, 2019 (the “October 27th Deed of Trust,” together with the March 26th Deed of Trust
             5
                 and the September 11th Deed of Trust, the “Deeds of Trust” and, together with the October 1st
             6

             7   Reconveyance and the August 14th Assignment, the “Debtor’s Concealed Transactions” or the

             8   “Transactions” with each a “Transaction”). The October 27th Deed of Trust was recorded in the

             9   Santa Clara County Clerk’s Office on November 1, 2019 as Deed of Trust No. 24318908. This
            10
                 Deed of Trust allegedly secures a loan from Yosemite Capital LLC, which proffered
            11
                 approximately 69.80% of the purported loan amount. The following participants purportedly
            12
                 proffered the remaining 30.20% of the purported loan to the Debtor: Brad Evans, Matthew Hill,
            13
                 and the Roger Wendelken Revocable Living Trust. The October 27th Deed of Trust purports to
            14

            15   secure a loan in the principal amount of $3,640,000.00.

            16          95.    This loan was taken out on 3549 Middlefield Road without the knowledge of
            17   anyone at University AME Zion. None of the requirements of the Transfer Provision were
            18
                 complied with. Neither Sandra Davis nor any of the other Debtor-Defendants was authorized by
            19
                 University AME Zion to execute the October 27th Deed of Trust. University AME Zion did not
            20
                 receive any proceeds from this loan.
            21

            22          96.    In total, Powell proffered University AME Zion’s 3549 Middlefield Road to

            23   secure approximately $3,921,000.00 of loans made to the Debtor.           None of the Debtor-

            24   Defendants ever disclosed any of these Transactions to University AME Zion. Instead, even now,
            25   the Debtor-Defendants would conceal the same from University AME Zion. None of these
            26
                 Transactions were approved or allowed by the 2017 Resolution. None of these Transactions
            27
                 comply with the Transfer Provision. None of the Transactions were disclosed by Powell at any
            28


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             1   Quarterly or Annual Conference. Finally, none of these “written instruments” contained the Trust
             2   Clause required by Paragraph 394 of the Book of Discipline.
             3
                 VII.   The Revelations: Discovery of the Debtor’s Concealed Transactions
             4
                        97.      On or about January 25, 2019, University AME Zion received a notice of overdue
             5
                 property tax. Since University AME Zion is a tax-exempt corporation and 3549 Middlefield
             6

             7   Road was supposed to be held in trust by a likewise tax-exempt corporation, no taxes should have

             8   been charged.     Pastor Smith, therefore, forwarded the notice to Powell and the Debtor-

             9   Defendants.
            10
                        98.      In response, Sandra Davis explained away the notice by stating “the property
            11
                 location for University AME Zion remains the same. We have a new name for the church etc.
            12
                 The year may have confused the agency. Thank you!”
            13
                        99.      None of the Debtor-Defendants offered any further explanation for the tax notice
            14

            15   or disclosed the Transactions that had occurred in the intervening period.

            16          100.     On or about April 4, 2020, Pastor Smith received a call from a concerned and
            17   reliable third party who indicated that (i) there was a mortgage on the property in the amount of
            18
                 approximately $3.6 million dollars, (ii) approximately $11,000,000.00 in mortgages had been
            19
                 taken on several of the churches, and (iii) the governing body of the national church, the Board of
            20
                 Bishops, upon learning of Powell’s activities, had given Powell until July 24, 2020, to clear all
            21

            22   the debt and have in place a process to return the deeds of ownership to each of the local

            23   churches.

            24          101.     This call was the first time that Pastor Smith and University AME Zion’s
            25   congregants learned of the Debtor’s Concealed Transactions and the Deeds of Trust that had been
            26
                 placed on 3549 Middlefield Road.
            27
                        102.     On or about May 18, 2020, Pastor Smith was invited to a call with Powell and
            28


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             1   several other pastors about the mortgages on the various church properties. Powell assured each
             2   of the pastors on the call that “the mortgages would be taken care of by the end of June, early July
             3
                 at the latest, and that each church and pastor would have money in the bank after this was all
             4
                 done.”
             5
                          103.   However, on or about June 6, 2020, University AME Zion received a default
             6

             7   notice in the mail from California TD Specialists (the “Default Notice”). The Default Notice,

             8   which was filed in the Santa Clara County Clerk’s Office on May 28, 2020 as Default Notice No.

             9   24490246, sought the immediate payment of the past due amount of $235,730.48.
            10
                          104.   With respect to each Transaction that has purported to use 3549 Middlefield Road
            11
                 as security, the Debtor’s Lenders either knew or should have known that University AME Zion
            12
                 was an active parish. The Debtor’s Lenders are sophisticated parties specializing in “alternative”
            13
                 financing. These Lenders either were (i) aware of the fraud or (ii) reckless and/or negligent in
            14

            15   failing to discover it.

            16            105.   At any time, the Debtor’s Lenders, their agents and their professionals could have
            17   spoken with and/or contacted University AME Zion to confirm whether any of the Transactions
            18
                 had been authorized by University AME Zion in accordance with the Book of Discipline.
            19
                          106.   No Lender contacted University AME Zion.
            20
                          107.   Had any of the Debtor’s Lenders made inquiries by going to or otherwise
            21

            22   contacting University AME Zion, they would have been told by University AME Zion that (i) a

            23   conveyance free of the trust imposed by the Book of Discipline had not been intended, (ii) the

            24   2018 Grant Deed, which was (1) not in conformance with either the 2017 Resolution or the
            25   Transfer Provision and (2) missing the Trust Clause, should not be relied upon, and (iii) Deeds of
            26
                 Trust that purport to secure the loans taken by the Debtor were neither (1) in compliance with the
            27
                 Book of Discipline nor (2) had been authorized by University AME Zion.
            28


                                                                 25
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             1          108.    Instead, the Debtor’s Lenders only contacted University AME Zion when they
             2   served the Default Notice.    By this act, the Debtor’s Lenders showed that they knew that
             3
                 University AME Zion was there all along but they chose not to confirm with University AME
             4
                 Zion whether their Transactions with the Debtor were authorized in compliance with the Book of
             5
                 Discipline.
             6

             7          109.    Shocked and alarmed, Pastor Smith immediately reached out to Powell and asked

             8   him what to do about the Default Notice. The following is their exchange:

             9
            10

            11

            12

            13

            14

            15

            16

            17

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            19
            20

            21

            22

            23

            24
                        110.    While Powell was so very careful not to personally execute any of the Deeds of
            25
                 Trust or otherwise put anything in writing, his words “Put the letter in the drawer and remember
            26
                 what I told you” crystalize the power that he wielded.
            27

            28          111.    Yet, Powell did not “resolve” the matter.


                                                                 26
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             1          112.      On July 27, 2020, the Board of Bishops sent a letter to all AME Zion
             2   congregations and clergy conducting ministry within the Western Episcopal District (the “July
             3
                 27th Letter”).
             4
                        113.      In the July 27th Letter, the Board of Bishops indicated that a number of church
             5
                 properties in the Western Episcopal District had been conveyed without the approval of duly
             6

             7   recorded votes of the local church Board of Trustees, the Quarterly Conference, and an officially

             8   called Members Meeting.

             9          114.      The Board of Bishops indicated that it had also been made aware that “a number of
            10
                 our churches received foreclosure notices due to delinquent payments.”
            11
                        115.      The July 27th Letter then went on to state that the Board of Bishops had met with
            12
                 Powell on July 22, 2020. During that meeting, the Board of Bishops had received a report from
            13
                 Powell in which he again promised “to bring this situation to an appropriate resolution.”
            14

            15          116.      Critically, the Board of Bishops reaffirmed the position that it had set forth in its

            16   August 7, 2018, letter, that:
            17           The procedures used [by Powell] to change local church deeds and convey them
                         to the Western Episcopal District did not conform to the process described in the
            18
                         AME Zion Discipline;[and] therefore, it is the position of the Board of Bishops
            19           that all deeds must be restored to the original language and any deed for church
                         property must be consistent with our law.
            20
                        117.      The Board of Bishops acknowledged that, despite its directions to Powell, to date,
            21
                 he failed to follow its mandate.
            22

            23          118.      Affirming its mandate that Powell restore the deeds to the local churches, the

            24   Board of Bishops then referred these matters back to Powell to resolve “in a manner consistent

            25   with church law.”
            26
                        119.      Despite his “expressed desire to bring this situation to an appropriate resolution,”
            27
                 Powell did nothing.
            28


                                                                   27
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             1          120.      Out of options, with default notices accumulating, one local church (First AME
             2   Zion Church of San Bernardino) already lost to foreclosure, and the pressing and reiterated Board
             3
                 of Bishops’ mandate to deed the various properties back to the local churches (including 3549
             4
                 Middlefield Road to University AME Zion), Powell sought protection under Chapter 11 of the
             5
                 Bankruptcy Code for the Debtor to forestall the foreclosure of another local church property on
             6

             7   July 30, 2020.

             8          121.      In reaction to the Debtor’s bankruptcy filing, the alarming failure of Powell to

             9   deed the properties back to the local churches and the mounting and equally alarming questions
            10
                 regarding the monumental financial obligations apparently incurred by Powell through the
            11
                 Debtor, on August 7, 2020, the Board of Bishops relieved Powell of all Episcopal duties.
            12
                        122.      The Right Rev. George D. Crenshaw has now assumed the responsibilities of
            13
                 Presiding Bishop of the Annual Conferences located within the Western Episcopal District, which
            14

            15   include all aspects of ecclesiastical and fiscal oversight until the current investigations of the

            16   operations of the Western Episcopal District are concluded.
            17          123.      While the question of what Powell did with the proceeds of the Debtor’s
            18
                 Concealed Transactions, along with the question of whether Powell used any portion of the
            19
                 tithing of the local churches within the Western Episcopal District to service the debt incurred by
            20
                 the Debtor remains unresolved, once Bishop Crenshaw was appointed as the Presiding Bishop of
            21

            22   the Western Episcopal District, assuming responsibility for all ecclesial and fiscal matters, any

            23   largesse that Powell had afforded himself with respect to any AME Zion assets and funds located

            24   in that region was gone. Moreover, contrary to statements made to this Court, after August 7,
            25   2020, Powell no longer has any authority to enter into any transactions regarding any property in
            26
                 the Western Episcopal District.
            27

            28


                                                                 28
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             1         124.    Yet, before this Court, Powell, through the Debtor, seeks to continue his activities
             2   by:
             3
                          Including 3549 Middlefield Road as property of the Debtor in its Schedules.
             4
                          Failing to disclose to this Court that he is under a mandate to return all AME
             5
                           Zion local churches (including 3549 Middlefield Road) to their rightful
             6

             7             owners, the local churches themselves.

             8            Affirmatively stating to this Court, through the Debtor’s counsel, that the
             9             Debtor has “a right to sell, refinance, and repurpose . . . the real property”
            10
                           (9/14 Transcript, pg. 16, ll. 6-8).
            11
                          Affirmatively responding to this Court, through the Debtor’s counsel, that the
            12
                           Debtor could freely sell the local church properties situated in the Western
            13

            14             Episcopal District, when, in fact, the Debtor lacks any authority to do so

            15             because (1) its controlling officer and alter ego (Powell) is under the

            16             outstanding mandate to cause the return of every single local church property
            17
                           (which Powell has repeatedly promised he would do) and (2) any future
            18
                           transaction involving those properties or any other AME Zion assets now
            19
                           requires the permission of the Board of Bishops (9/14 Transcript, pg. 16, ll. 9-
            20
                           14 and the July 27th Letter).
            21

            22            Affirmatively responding to this Court, through the Debtor’s counsel, that the

            23             Debtor has the “unfettered right do whatever they want with the[se]
            24             propert[ies]” (9/14 Transcript, pg.16, ll. 16-20).
            25
                          Engaging in new efforts, now with the Debtor’s Lenders and Marcus &
            26
                           Millichap, to market and sell certain church properties in the Western
            27

            28


                                                                 29
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             1               Episcopal District (including 3549 Middlefield Road) in contravention of the
             2               mandate of the Board of Bishops and the provisions of the Book of Discipline.
             3
                         125.    On January 7, 2021, noting the assertions and positions taken by the Debtor before
             4
                 this Court, which the Board of Bishops determined was a further aggravating factor in the course
             5
                 of Powell’s conduct to date, the Board of Bishops took the extraordinary and grave step of
             6

             7   suspending Powell as “an active Bishop of the AME Zion Church” pending trial at the upcoming

             8   General Conference. A true and correct copy of the January 7, 2021 Statement of the Board of

             9   Bishops (the “January 7th Statement”) is attached hereto as Exhibit C.
            10
                         126.    While the Board of Bishops moves forward with its prosecution of Powell for his
            11
                 “severe infractions and maladministration,” on a parallel track, the Federal Bureau of
            12
                 Investigation is conducting a criminal investigation into the Debtor-Defendants’ conduct,
            13
                 including their directing of, and participation in, the illegal transactions that threaten through
            14

            15   these proceedings to forever deprive University AME Church of 3549 Middlefield Road. More

            16   specifically, as the Denomination advised this Court in its December 2, 2020 Status Conference
            17   Statement, the Debtor-Defendants’ conduct has caused:
            18
                         the District Attorney for Santa Clara County, and more recently the Federal
            19           Bureau of Investigation, to initiate criminal investigations into the very
                         transactions that lie at the heart of this Bankruptcy Proceeding, with a particular
            20           focus on the legitimacy of the Debtor’s claim. The Denomination’s understanding
                         is that the Santa Clara District Attorney is now standing down in deference to the
            21           FBI’s broader jurisdiction. The Denomination is cooperating fully with the FBI’s
            22           investigation, which is ongoing.

            23           See December 2, 2020 Status Conference Statement [Dkt. No. 114], pg. 4, ¶ 7, ll. 15-20.

            24   VIII. The Necessity of this Adversary Proceeding

            25           127.    As noted above, the Debtor has recently sought to engage Marcus & Millichap to
            26
                 help it market and sell the properties that it claims are assets of its estate.
            27
                         128.    Absent the relief sought herein, the Debtor would use the Bankruptcy Code and
            28


                                                                    30
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             1   this Court to deprive University AME Zion of 3549 Middlefield Road.
             2          129.    To date, the Debtor has not been forthcoming in disclosing to this Court
             3
                 either the activities that it had engaged in prior to seeking Chapter 11 protection or the
             4
                 harm that the Debtor-Defendants have inflicted on University AME Zion.
             5
                        130.    Having discovered the depth of betrayal by Powell and the other Debtor-
             6

             7   Defendants, University AME Zion cannot (i) take the risk of 3549 Middlefield Road being

             8   sold to satisfy debts that are solely those of the Debtor, (ii) allow this gross injustice to

             9   stand, or (iii) because of the Debtor-Defendants’ continued efforts to conceal the true state
            10
                 of affairs, allow this Court to become unwittingly involved in the fraud perpetrated by the
            11
                 Debtor-Defendants on University AME Zion.
            12

            13                                         CAUSES OF ACTION

            14                                      FIRST CAUSE OF ACTION
                                         Section 105 Preliminary and Permanent Injunction
            15                              (Against All Defendants, known and unknown)
            16          131.    University AME Zion realleges and incorporates by reference all the allegations
            17
                 contained in each of the paragraphs set forth above, as if fully set forth herein.
            18
                        132.    A Bankruptcy Court may “issue any order, process, or judgment that is necessary
            19
                 or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a).
            20

            21          133.    A Bankruptcy Court may, therefore, in its discretion, issue injunctive relief under

            22   section 105 of the Bankruptcy Code in order to restrain activities that threaten the reorganization

            23   process or impair the court’s jurisdiction with respect to the case before it.
            24          134.    To date, the Debtor has proceeded before this Court as if the properties involved
            25
                 could be freely sold.
            26
                        135.    The Debtor has not informed the Court that the properties are (i) subject to the
            27
                 mandate of the Board of Bishops and (ii) must be deeded back to the local churches, including
            28


                                                                   31
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             1   University AME Zion.
             2          136.    University AME Zion is the rightful owner of 3549 Middlefield Road and any
             3
                 claim of ownership by the Debtor is a product of the Debtor-Defendants’ fraudulent acts.
             4
                        137.    The Debtor-Defendants should not be allowed to continue their efforts to market,
             5
                 sell, convey or otherwise dispose of 3549 Middlefield Road to repay debts that are solely that of
             6

             7   the Debtor.

             8          138.    Every day that Debtor-Defendants are allowed to continue their efforts to

             9   “reorganize,” the Debtor causes irreparable harm to University AME Zion.             The Debtor-
            10
                 Defendants’ activities impose an immediate and substantial risk to University AME Zion because
            11
                 if the Debtor is allowed to sell or transfer all or part of 3549 Middlefield Road, University AME
            12
                 Zion would never recover.      No compensation to University AME Zion would adequately
            13
                 compensate it for the loss of 3549 Middlefield Road because, at issue, is the historic, hard-earned
            14

            15   sanctuary of Palo Alto’s oldest Black church, which sits on a unique parcel of real property.

            16   There is no adequate remedy at law to rectify the injustice that has already been inflicted on
            17   University AME Zion and that University AME Zion would further suffer if sale of 3549
            18
                 Middlefield Road was authorized by this Court.
            19
                        139.    Accordingly, the public interest will be served by the issuance of an injunction
            20
                 because the requested injunctive relief will block the Defendants from capitalizing on the fraud
            21

            22   perpetrated by the Debtor-Defendants against University AME Zion.

            23          140.    This Court’s issuance of relief enjoining all the Defendants would not harm any of

            24   the Defendants but would merely preserve the status quo of the parties until the Court can fully
            25   and accurately assess each party’s legitimate rights and obligations. Without such relief, the
            26
                 Debtor-Defendants will continue to inflict material harm on University AME Zion.
            27
                        141.    Therefore, preliminary and permanent injunctive relief, pursuant to section 105 of
            28


                                                                  32
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             1   the Bankruptcy Code, enjoining Defendants from taking any further actions with respect to 3549
             2   Middlefield Road, is necessary and appropriate.
             3
                                                  SECOND CAUSE OF ACTION
             4                                         Declaratory Judgment
                                            (Against All Defendants, known and unknown)
             5
                         142.    University AME Zion realleges and incorporates by reference all the allegations
             6
                 contained in each of the paragraphs set forth above, as if fully set forth herein.
             7

             8           143.    This claim for relief arises under the Federal Declaratory Judgment Act, 28 U.S.C.

             9   § 2201 and Bankruptcy Rules 7001(2) and 7001(9).
            10           144.    Pursuant to the Declaratory Judgment Act, “[i]n a case of actual controversy
            11
                 within its jurisdiction . . . any court of the United States . . . may declare the rights and other legal
            12
                 relations of any interested party seeking such declaration, whether or not further relief is or could
            13
                 be sought.” 28 U.S.C. § 2201(a). Bankruptcy Courts, as units of the district court, have the
            14

            15   authority to issue declaratory judgments.

            16           145.    Courts possess jurisdiction to issue declaratory relief where “the facts alleged,

            17   under all the circumstances, show that there is a substantial controversy, between parties having
            18   adverse legal interests, of sufficient immediacy and reality to warrant the issuance of a
            19
                 declaratory judgment.” MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007).
            20
                         146.    While the Debtor has listed 3549 Middlefield Road in its schedules as an asset of
            21
                 the estate, there is a substantial controversy between the Debtor and University AME Zion;
            22

            23   namely, title to 3549 Middlefield Road. The Debtor has never had nor assumed any of the

            24   responsibilities of ownership. Whereas, since 1963, University AME Zion, as the true owner of

            25   the property, has paid (and continues to pay) all costs required to maintain its sanctuary and the
            26
                 grounds.
            27
                         147.    The disclosure of the actions taken by Debtor-Defendants has revealed that
            28


                                                                    33
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             1   University AME Zion is perilously close to losing 3549 Middlefield Road. As such, the harm to
             2   University AME Zion is of sufficient immediacy and such stark reality as to warrant the issuance
             3
                 of a declaratory judgment.
             4
                        148.    The 2018 Grant Deed was executed solely on the basis that (i) the transfer would
             5
                 be for the “good of the Western Episcopal District” and (ii) the transfer would be “in trust” to the
             6

             7   Western Episcopal District, not the Debtor. It was in reliance on these representations that the

             8   2018 Grant Deed was obtained without providing any consideration to University AME Zion.

             9          149.    In addition to these intentional and material Misrepresentations that make the 2018
            10
                 Grant Deed voidable and unenforceable, the 2018 Grant Deed is also unenforceable because it
            11
                 failed to adhere to every aspect of both the Transfer Provision and the 2017 Resolution under
            12
                 which the transfer was approved.
            13
                        150.    If left outstanding, the 2018 Grant Deed, which has already caused serious injury
            14

            15   to University AME Zion, will cause irreparable injury to University AME Zion.

            16          151.    A declaratory judgment affirming that (i) 2018 Grant Deed is void, (ii) title to
            17   3549 Middlefield Road must be “restored” to University AME Zion, as the Board of Bishops has
            18
                 twice decreed, (iii) the Debtor does not have a cognizable interest in 3549 Middlefield Road, and
            19
                 (iv) 3549 Middlefield Road is not “property” of the Debtor’s estate under section 541 of the
            20
                 Bankruptcy Code is both necessary and appropriate.
            21

            22                                    THIRD CAUSE OF ACTION
                                                            Quiet Title
            23                             (Against All Defendants, known and unknown)

            24          152.    University AME Zion realleges and incorporates by reference all the allegations

            25   contained in each of the paragraphs set forth above, as if fully set forth herein.
            26
                        153.    The claims herein involve University AME Zion’s rights, title and interest in, and
            27
                 to 3549 Middlefield Road. University AME Zion is the owner of 3549 Middlefield Road and has
            28


                                                                   34
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             1   never authorized, agreed, permitted or consented to any sale, encumbrance, pledge as collateral or
             2   other form of lien or claim to title on 3549 Middlefield Road.
             3
                           154.   The basis of University AME Zion’s title is its 1963 Deed.
             4
                           155.   University AME Zion has been both in possession of and had title to (i.e., seised
             5
                 of) 3549 Middlefield Road at all times for the fifty-seven years before the commencement of this
             6

             7   action.

             8             156.   On or about March 28, 2018, University AME Zion was induced to transfer title to

             9   the Western Episcopal District on the basis of and in reliance upon the Misrepresentations.
            10
                           157.   In addition, University AME Zion was not aware nor was it disclosed by the
            11
                 Debtor-Defendants that the Debtor had already executed the March 26th Deed of Trust two days
            12
                 before the 2018 Grant Deed had been executed.
            13
                           158.   Thereafter, Debtor-Defendants and Debtor’s Lenders engaged in multiple
            14

            15   concealed Transactions that purported to encumber 3549 Middlefield Road by clouding title with

            16   the Deeds of Trust and other liens and conveyances.
            17             159.   University AME Zion did not discover the Debtor’s Concealed Transactions until
            18
                 April 4, 2020.
            19
                           160.   Since these Transactions were concealed from University AME Zion, they were
            20
                 never approved by University AME Zion and the Book of Discipline’s Transfer Provision.
            21

            22             161.   Accordingly, as twice determined by the Board of Bishops, the Debtor’s

            23   Concealed Transactions are not binding on University AME Zion and the Debtor—through its

            24   controlling officer and alter ego, Powell—is under the mandate to return title to 3549 Middlefield
            25   Road to University AME Zion.
            26
                           162.   Turning to each of the Defendants, particularly the Debtor’s Lenders, who purport
            27
                 to have an interest in or encumbrance on 3549 Middlefield Road through one of the Debtor’s
            28


                                                                  35
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             1   Concealed Transactions, without question, they knew where to send the Default Notice.
             2   Therefore, at the inception of each Transaction, they knew that University AME Zion was an
             3
                 operating AME Zion Church. Accordingly, at a minimum, each of the Debtor’s Lenders knew, or
             4
                 at least had constructive knowledge of, University AME Zion’s true claim to title to 3549
             5
                 Middlefield Road.
             6

             7          163.    Each of the Debtor’s Lenders either knew of, or by minimal inquiry should have

             8   discovered, University AME Zion’s ownership of 3549 Middlefield Road and the fact that 3549

             9   Middlefield Road is subject to the exacting rules contained in the Book of Discipline that were
            10
                 specifically enacted to prevent the casual transfer of real property out of the AME Zion Church.
            11
                        164.    None of the Deeds of Trust comply with the Transfer Provision and all of the
            12
                 Deeds of Trust are missing the Trust Clause.
            13
                        165.    With University AME Zion clearly being a fully worshipping congregation within
            14

            15   the AME Zion denomination, actively conducting ministry on the very premises in question and

            16   continuing to bear full responsibility for all obligations imposed on owners of real property, each
            17   of the Debtor’s Lenders had either actual or constructive notice of the defects in their security
            18
                 interests based on the initial fraudulent conveyance and other errors described above.
            19
                        166.    Now before this Court, the Debtor and the Defendants are in the process of
            20
                 attempting to market, sell, and transfer the title to 3549 Middlefield Road.
            21

            22          167.    University AME Zion respectfully requests that all claims, encumbrances, liens,

            23   and clouds against the title to 3549 Middlefield Road be quieted in favor of University AME Zion

            24   in its legal name “AME Zion Church of Palo Alto, Inc.” and against the claims of all the
            25   Defendants, including the 1 through 50 described in Paragraph 39 above, whether or not any such
            26
                 claim is known to University AME Zion.
            27
                        168.    University AME Zion also respectfully requests that, in order to avoid violating
            28


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             1   the automatic stay, the requirement that a notice of lis pendens be filed in compliance with
             2   California Civil Procedure Section 761.010 be waived or, alternatively, with leave of the Court,
             3
                 that either (i) the filing of this action be deemed to effect such notice or (ii) the stay be modified
             4
                 to allow University AME Zion to file the same as required by California Civil Procedure Section
             5
                 761.010.
             6

             7          169.    University AME Zion seeks to quiet title as of either (x) March 26, 2018, the date

             8   on which the concealed March 26th Deed of Trust was executed or (y) March 28, 2018, the date

             9   on which the fraudulent 2018 Grant Deed was executed.
            10
                                                 FOURTH CAUSE OF ACTION
            11                                              Rescission
                                           (Against All Defendants, known and unknown)
            12
                        170.    University AME Zion realleges and incorporates by reference all the allegations
            13
                 contained in each of the paragraphs set forth above, as if fully set forth herein.
            14

            15          171.    University AME Zion seeks rescission of any and all purported grant deeds, deeds

            16   of trust, assignments or any other agreements that have been recorded because they are the

            17   product of fraud.
            18          172.    Both the consent of University AME Zion’s Board of Trustees and Pastor Smith’s
            19
                 signature to the 2018 Grant Deed were obtained through a cocktail of Misrepresentations,
            20
                 mistakes, duress, and undue influence by Powell.
            21
                        173.    The Debtor-Defendants knew the Misrepresentations that they made to University
            22

            23   AME Zion to be false and the facts to be otherwise (i.e., Debtor-Defendants had already lined up

            24   a $2,000,000 loan, 3549 Middlefield Road was immediately saddled with the March 26th Deed of

            25   Trust on the same day that the 2018 Grand Deed was filed, and the Debtor-Defendants actively
            26
                 concealed this loan transaction).
            27
                        174.    University AME Zion justifiably relied upon the representations of Powell and, in
            28


                                                                   37
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             1   the absence of a countervailing authority, was required to adhere to Powell’s mandates.
             2          175.    No consideration was requested or expected in reliance on the representation that
             3
                 3549 Middlefield Road would be held “in trust” for the use and benefit of AME Zion ministry
             4
                 within the Western Episcopal District and, per the 2017 Resolution and the Book of Discipline,
             5
                 the 2018 Grant Deed would reflect that understanding by incorporating the Trust Clause.
             6

             7          176.    Instead, with Debtor-Defendants driving the transfer of 3549 Middlefield Road,

             8   the Trust Clause was missing and two of the required steps of the Transfer Provision were

             9   skipped.
            10
                        177.    When combined with the concealed March 26th Deed of Trust, the 2018 Grant
            11
                 Deed transaction was so one-sided in favor of the Debtor that only a party who (i) had been
            12
                 intentionally misguided, (ii) was under duress and delusion, or (iii) subject to undue influence
            13
                 would accept it and only a party who was unfair and dishonest would make it.
            14

            15          178.    University AME Zion has suffered and will suffer substantial harm and injury if

            16   the 2018 Grant Deed is not rescinded because University AME Zion will be deprived of both its
            17   legal title and the beneficial use of 3549 Middlefield Road.
            18
                        179.    Given the gravity of the impact of the acts that the Debtor-Defendants perpetrated
            19
                 on University AME Zion, the resulting 2018 Grant Deed and the subsequent undisclosed Deeds
            20
                 of Trust are unconscionable and should not be permitted to survive or impact University AME
            21

            22   Zion now that the light of justice shines upon their ignoble conception.

            23          180.    This Court has authority, in equity, to rescind the 2018 Grant Deed and University

            24   AME Zion requests such rescission.
            25                                    FIFTH CAUSE OF ACTION
            26                                    Actual Fraud by Concealment
                                                   (Against Debtor-Defendants)
            27
                        181.    University AME Zion realleges and incorporates by reference all the allegations
            28


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             1   contained in each of the paragraphs set forth above, as if fully set forth herein.
             2          182.    The apparent consent of University AME Zion to the 2018 Grant Deed was not
             3
                 informed, real, mutual, or free in that it was obtained by fraud.
             4
                        183.    Instead, the transfer was underpinned by the Misrepresentations and demands of
             5
                 Powell.
             6

             7          184.    The Debtor-Defendants both (i) concealed that the transfer of 3549 Middlefield

             8   Road was not made in trust for AME Zion ministry within to the Western Episcopal District but,

             9   instead, was being siphoned off to the Debtor and (ii) intentionally omitted from the 2018 Grant
            10
                 Deed the Trust Clause required by the 2017 Resolution and the Book of Discipline.
            11
                        185.    The Debtor-Defendants also concealed that they had already executed the March
            12
                 26th Deed of Trust—two days before the 2018 Grant Deed was executed.
            13
                        186.    Until the disclosure of the Debtor’s Concealed Transactions occurred on April 4,
            14

            15   2020, University AME Zion was ignorant of the existence of the facts and acts that the Debtor-

            16   Defendants had concealed. Notwithstanding the incredible pressure that Powell had exerted on
            17   both University AME Zion’s congregants and Pastor Smith, had any of these material facts been
            18
                 disclosed instead of being concealed prior to the execution of the 2018 Grant Deed, University
            19
                 AME Zion would not have given even the limited approvals Powell procured for its apparent
            20
                 consent to the 2018 Grant Deed. University AME Zion most certainly did not approve either the
            21

            22   March 26th Deed of Trust or any of the subsequent Transactions, which the Debtor-Defendants

            23   also concealed in their entirety.

            24          187.    At the time, University AME Zion’s reliance on the Misrepresentations was
            25   justified because the Debtor-Defendants were in positions of advantage with respect to
            26
                 knowledge of facts concerning the preparation and execution of the 2018 Grant Deed. The
            27
                 Debtor-Defendants controlled every aspect of this transfer.
            28


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             1           188.   Reliance by University AME Zion was also given because Powell, Sandra Davis
             2   and Sheila Quintana also held positions of authority within the Western Episcopal District,
             3
                 including but not limited to positions involving the management of the Western Episcopal
             4
                 District’s finances and operations.
             5
                         189.   As the spiritual head and presiding bishop of all Annual Conferences located
             6

             7   within the Western Episcopal District, Powell owed a fiduciary duty to University AME Zion to

             8   always act with honesty and integrity. Powell and each of the Debtor-Defendants acting at his

             9   direction had the duty to disclose the true nature and implications of executing the 2018 Grant
            10
                 Deed.
            11
                         190.    Through the Debtor, Powell, Sheila Quintana and Sandra Davis knew, at the time,
            12
                 that (i) the statements that they made to Pastor Smith and the congregation of University AME
            13
                 Zion to get the 2018 Grant Deed executed were false and (ii) their omissions (i.e., their intentional
            14

            15   failure to disclose the entirety of the transaction that resulted in the March 26th Deed of Trust and

            16   each of the subsequent Transactions) were so material that they knew that disclosure of the same
            17   would have caused either the withdrawal or invalidation of any consent that they had attempted to
            18
                 obtain in connection with the 2018 Grant Deed. Thus, through an intentional amalgamation of
            19
                 outright false statements, half-truths, and epic concealments, they misappropriate 3549
            20
                 Middlefield Road.
            21

            22           191.   By failing to disclose in any of their interactions with University AME Zion the

            23   material facts that would have allowed University AME Zion to make an informed decision, the

            24   Debtor-Defendants failed to act with either honesty or integrity.
            25           192.   In addition, when engaging with each local church under his oversight, including
            26
                 University AME Zion, Powell was also obliged to comply with and act in accordance with the
            27
                 Book of Discipline. Instead, Powell set aside his fiduciary obligations in an effort to wield
            28


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             1   absolute and all-encompassing authority over all local AME Zion churches within the Western
             2   Episcopal District to the benefit of the Debtor and the clear detriment of local churches such as
             3
                 University AME Zion.
             4
                        193.   As noted by the Board of Bishops in its January 7th Statement:
             5
                        Not only did Bishop Powell fail to uphold his vow to safeguard and adhere to the
             6          law of The AME Zion Church with regard to the sale, mortgaging, or transfer of
             7          church property; he actively engaged in acts of intimidation, manipulation, and
                        deception in order to illegally have local church deeds altered and property
             8          transferred to a shell corporation, avoiding accountability.

             9          See January 7th Statement, pg. 2, ¶ 8.
            10          194.   The acts of fraud and concealment perpetrated by the Debtor-Defendants on
            11
                 University AME Zion, are the direct and proximate cause of there being approximately
            12
                 $3,921,000 of unauthorized loans that purport to be secured by 3549 Middlefield Road.
            13
                        195.   As a direct result of the acts of fraud and concealment perpetrated by the Debtor-
            14
                 Defendants on University AME Zion, a cloud has been placed upon the title to 3549 Middlefield
            15

            16   Road and University AME Zion is now at risk of losing 3549 Middlefield Road.

            17          196.   Although the damages inflicted on University AME Zion by the Debtor-
            18   Defendants are in some respects immeasurable, the immediate and direct damage sustained by
            19
                 University AME Zion is, at a minimum, not less than $3,921,000.00.
            20
                        197.   As the irreparably flawed 2018 Grant Deed is the direct and proximate result of the
            21
                 fraud and acts of concealment perpetrated by the Debtor-Defendants on University AME Zion,
            22

            23   the 2018 Grant Deed should be deemed void ab initio as of the date of its execution—as if it

            24   never existed and each of the Deeds of Trust to the extent that they purport to be secured by 3549

            25   Middlefield Road should be determined to be void or voidable.
            26                                   SIXTH CAUSE OF ACTION
            27                                         Unjust Enrichment
                                          (Against All Defendants, known and unknown)
            28
                        198.   University AME Zion realleges and incorporates by reference all the allegations

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             1   contained in each of the paragraphs set forth above, as if fully set forth herein.
             2          199.    A party is unjustly enriched when it retains a benefit to the detriment of another
             3
                 party against the fundamental principles of justice, equity, and good conscience.
             4
                        200.    Each of the Defendants has reaped the benefit of title to, or an interest in, 3549
             5
                 Middlefield Road as a result of the fraudulent conduct of the Debtor-Defendants alleged herein.
             6

             7   That any Defendant would retain such a benefit to University AME Zion’s detriment violates the

             8   fundamental principles of justice, equity and good conscience.

             9          201.    Each Defendant should be required to relinquish such title to, or interest in, 3549
            10
                 Middlefield Road that they have unjustly obtained to University AME Zion’s detriment.
            11
                                                      PRAYER FOR RELIEF
            12
                        WHEREFORE, University AME Zion respectfully requests that this Court enter judgment
            13
                 in favor of University AME Zion and against the Defendants:
            14

            15          A.      Preliminarily enjoining all Defendants from taking any further actions to

            16                  encumber, market, sell, or otherwise transfer 3549 Middlefield Road while
            17                  this Court determines title to 3549 Middlefield Road.
            18
                        B.      Permanently enjoining all Defendants and all other persons claiming under
            19
                                them from asserting any claim of title or interest in 3549 Middlefield Road
            20
                                adverse to the title of University AME Zion.
            21

            22          C.      Declaring that (i) 2018 Grant Deed is void, (ii) title to University AME

            23                  Zion’s 3549 Middlefield Road must be “restored” to University AME

            24                  Zion as the Board of Bishops has twice decreed, (iii) the Debtor does not
            25                  have a cognizable interest in 3549 Middlefield Road, and (iv) 3549
            26
                                Middlefield Road is not “property” of the Debtor’s estate under section
            27
                                541 of the Bankruptcy Code.
            28


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             1   D.   Declaring that each of the conveyances—the 2018 Grant Deed and each of
             2        the Deeds of Trust—(i) constitute a cloud upon the true title to 3549
             3
                      Middlefield Road that must be quieted, (ii) is illegal, and (iii) is cancelled
             4
                      of record.
             5
                 E.   Restoring all of University AME Zion’s right, title, and interest in 3549
             6

             7        Middlefield Road by quieting title, voiding, and extinguishing all claims,

             8        encumbrances, and security interests that any Defendant purports to hold,

             9        real or implied, as a claim against 3549 Middlefield Road, and making
            10
                      such quieting effective immediately prior to March 28, 2018, or,
            11
                      alternatively, March 26, 2018, the date on which the Debtor-Defendants
            12
                      executed the concealed March 26th Deed of Trust.
            13
                 F.   Waiving the requirement that a notice of lis pendens be filed in
            14

            15        compliance with California Civil Procedure Section 761.010, deeming that

            16        the commencement of this action has effected such notice or, alternatively,
            17        allowing the automatic stay to be modified to allow University AME Zion
            18
                      to file the lis pendens, as required under California Civil Procedure
            19
                      Section 761.010.
            20
                 G.   Rescinding the 2018 Grant Deed and/or declaring that the 2018 Grant
            21

            22        Deed is void and not enforceable and directing the Debtor to deliver the

            23        2018 Grant Deed to the Clerk of the Court for cancellation.

            24   H.   Determining that the Debtor-Defendants (i) intentionally misrepresented
            25        their intent in connection with inducing University AME Zion to execute
            26
                      the 2018 Grant Deed that resulted in the transfer of 3549 Middlefield Road
            27
                      to the Debtor instead of the Western Episcopal District in trust and (ii)
            28


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             1                fraudulently concealed each of the Transactions and, as a result, the 2018
             2                Grant Deed should be deemed void ab initio, as if it never existed and
             3
                              each of the Deeds of Trust, to the extent that they purport to be secured by
             4
                              3549 Middlefield Road, is void.
             5
                       I.     Directing each of the Defendants to relinquish title to, or an interest in,
             6

             7                3549 Middlefield Road that they have unjustly obtained to University

             8                AME Zion’s detriment.

             9         J.     Awarding such other, further, and different relief as the Court deems
            10
                              equitable, just, and proper.
            11

            12   Dated: January 14, 2021                         MAYER BROWN LLP

            13
                                                                 By: /s/ Edward D. Johnson
            14                                                      Edward D. Johnson
            15                                                   Attorneys for Plaintiff AME Zion Church of
                                                                 Palo Alto, Inc.
            16

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                 EXHIBIT A




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                 EXHIBIT B




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                 EXHIBIT C




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                                         The African Methodist
                                         Episcopal Zion Church
                         THE BOARD OF BISHOPS
                                  BISHOP GEORGE D. CRENSHAW          BISHOP GEORGE E. BATTLE, JR.
                                 President of the Board of Bishops          Senior Bishop




           STATEMENT FROM THE BOARD OF BISHOPS CONCERNING THE SUSPENSION
           OF STACCATO POWELL AS AN ACTIVE BISHOP OF THE AME ZION CHURCH


           January 7, 2021


           This serves as official notification that pursuant to our authority granted under Paragraph 128 in
           the Book of Discipline, the Board of Bishops announces the immediate suspension of Staccato
           Powell as an active Bishop of the AME Zion Church pending the outcome of a trial to be
           convened at the 51st Session of the General Conference in July, 2021.

           The gravity of this action weighs heavily upon your Board of Bishops and we grieve that the
           severe infractions and maladministration of Bishop Powell have left us with no alternative to this
           action.

           Beginning in 2017, complaints were submitted to the Board of Bishops that Bishop Staccato
           Powell was taking actions inconsistent with the AME Zion Church Discipline. These actions
           included, but were not limited to the demand that pastors amend church deeds so that the
           Western Episcopal District, Inc. be named as title holder. In most cases this action was taken
           without the proper and required votes of local church Trustees, Quarterly Conferences, and/or
           Membership Meetings. The Board of Bishops received information that local congregations were
           not made aware of the transfer of deeds or the mortgaging of their church properties until
           notifications of pending foreclosures were received.

           During the Board of Bishops Meeting in February, 2018, and at a subsequent meeting with the
           President of the Board of Bishops, as documented in a letter to Bishop Powell dated August 7,
           2018, he was directed to cease the practice of having deeds altered, mortgaging local church
           properties, to relieve the debt that was improperly placed upon the churches, and to immediately




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            begin the process of restoring deeds to language consistent with the Book of Discipline. (see
            AMEZ BOD Pars. 398, (2016) and the Judicial Council Decision No. 2017 – 38

            After receiving additional reports and complaints of continued violations, the Board of Bishops
            on July 22, 2020 appointed a legal affairs committee and an audit committee to investigate the
            extent of legal and financial liabilities. Upon the recommendations of these committees, a law
            firm and an accounting firm were retained by the Board of Bishops. We also communicated with
            the membership of the Western Episcopal District to update them on the status of their
            complaints.

            Based upon the initial findings of the legal team and the accountants, reported to the Board of
            Bishops on August 7, 2020, a meeting in which Bishop Powell participated, the Board voted to
            relieve Bishop Powell of all responsibilities as Presiding Bishop of the Western Episcopal
            District due to his continued and expanded violation of church law and the explicit directives of
            the Board of Bishops. He remained an active member of the Board of Bishops.

            Subsequently, evidence has been presented to the Board of Bishops that Staccato Powell has
            continued unauthorized activities and communications in an attempt to obstruct efforts to both
            investigate and bring resolution to these matters. His representatives in court have taken
            positions in opposition to the position of the AME Zion Church’s best interests, including
            asserting to the court that the corporation he established has the right to sell churches within the
            Western Episcopal District.

            During the ongoing investigation and pending court actions, we must be prudent in sharing
            details of the significant scope of the violations committed by Staccato Powell; however, the
            following items are noteworthy:

            1. Not only did Bishop Powell fail to uphold his vow to safeguard and adhere to the law of The
               AME Zion Church with regard to the sale, mortgaging, or transfer of church property; he
               actively engaged in acts of intimidation, manipulation, and deception in order to illegally
               have local church deeds altered and property transferred to a shell corporation, avoiding
               accountability.
            2. Proceeds from mortgages obtained upon AME Zion Churches exceeded $14 million dollars
               of which the accounting for more than $8 million remains unreported. These transactions
               have the potential to place enormous debt upon our denomination.
            3. Through his representatives, Bishop Powell has represented to the bankruptcy court that he
               has both the willingness and the right to sell church property obtained by his fraudulent
               actions to settle the outstanding debt of the Western Episcopal District, Inc.




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           Therefore, in consultation with our attorney, it has become painfully clear to the Board of
           Bishops that Staccato Powell’s continuing status as an active Bishop in the Church creates
           significant legal and moral damage and that further action is both urgent and essential to severe
           him from any and all authority to speak or act on behalf of the AME Zion Church.

           During the term of his suspension, Bishop Powell will:
           1. Be immediately enjoined from operating in the office of the Episcopacy. He shall not speak
              or act with ecclesiastical or administrative authority within or beyond the confines of the
              AME Zion Church.
           2. Be prevented from participating in Board of Bishops Meetings, Board of Trustees of our
              educational institutions, or any position that is bestowed upon him by virtue of his status as a
              Bishop.
           3. Have no standing to represent The AME Zion Church in any ecumenical or civic association
              and must communicate such to any current affiliations forthwith.
           4. Receive the current salary as an active Bishop until a final deposition of his status is
              determined by the General Conference.

           We call upon all members to pray earnestly for the Board of Bishops and our beloved Zion. We
           also ask that you pray for Bishop Powell and his family. Please pray for the clergy and laity of
           the Western Episcopal District and Bishop Crenshaw as he provides episcopal oversight to the
           area.

           Yours in Christian Love,

           The Board of Bishops of the African Methodist Episcopal Zion Church
           Bishop George D. Crenshaw, President
           Bishop George E. Battle, Jr., Senior Bishop
           Bishop Kenneth Monroe
           Bishop Darryl B. Starnes
           Bishop Dennis V. Proctor
           Bishop Mildred Bonnie Hines
           Bishop W. Darin Moore
           Bishop Seth O. Lartey
           Bishop Michael Angelo Frencher Sr.




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            Bishop Hilliard Dogbe
            Bishop U.U. Effiong
            Bishop Joseph Johnson
            Bishop Marshall H. Strickland
            Bishop George W.C. Walker, Sr.
            Bishop S. Chuka Ekeman, Sr.
            Bishop Nathaniel Jarrett
            Bishop Warren M. Brown
            Bishop Louis Hunter (deceased)




                                                  11
